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                                                                             US DlSTIUCT COUR
                                                                               . RN DIS T A RKAN SAS
                                                                           WESTE
                                                                                    FILED
                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS                         SEP 2 8 2016
                                                                                         UNG. Clerk
                                                                           DOUGLAS F. YO
DAVID THRELKELD,                             )                              ly         Clerk
                                                                                     Deputy
                                             )
                      Plaintiff,             )

                                            )
               v.                           )        Case No.
                                            )
THE UNITED STATES OF AMERICA,               )
                                            )
                      Defendant.            )


                                        COMPLAINT


        NOW COMES the Plaintiff, DAVID THRELKELD, by and through his attorneys,


Seidman Margulis & Fairman, LLP, and for his Complaint a&ainst the Defendant, THE UNITED


STATES OF AMERICA, states as follows:




                                        JURISDICTION


       1.      On October 14, 2015, Plaintiff submitted an administrative claim to the


Department of Veteran Affairs pursuant to the Federal Tort Claims Act ("FTCA") 28 U.S.C.


§2679(d). -


       2.      On April 12, 2016, the Department of Veteran Affairs denied the claim. This


Court has exclusive jurisdiction pursuant to 28 U.S.C. §1346(b).


       3.      At all relevant times stated herein, the Defendant, THE UNITED STATES OF


AMERICA, owned, operated, managed, maintained and/or controlled a hospital bearing the


name and/or doing business as the Veterans Health Care System of the Ozarks ("VA") located at


1100 North College Avenue, Fayetteville, Arkansas.
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           4.    At all times relevant to this Complaint, the Plaintiff, DAVID THRELKELD, was


a resident of Fayetteville, Arkansas.


           5.    At present, Plaintiff resides in Elk Grove Village, Illinois.


           6.    On or about October 23, 2015, Plaintiff, DAVID THRELKELD, called the VA


and related that he was, and had been experiencing significant and serious urinary-type


symptoms.


           7.    During the aforementioned phone call, the VA, through its agents, instructed the


Plaintiff, DAVID THRELKELD, to wait approximately three weeks to see his primary care


physician to seek treatment for the symptoms that Plaintiff had related during the phone call.


           8.    During the aforementioned phone call, the VA, through its agents, failed to


instruct Plaintiff, DAVID THRELKELD, to seek immediate care for the symptoms that he had


related.


           9.    Between on or about October 23, 2013, and on or about November 2, 2015,


Plaintiff continued to experience urinary-type symptoms, including but not limited to burning


pain during urination.


           10.   On or about November 2, 2013, Plaintiff    presented to the VA emergency

department, and was diagnosed with a urinary tract infection, ordered a urine culture, and


prescribed an antibiotic.


           11.   Over the next approximately five days, Plaintiff continued to telephone the VA


and relate continuing and worsening urinary symptoms. Each time the VA, through its agents,


advised Plaintiff to continue treating as an outpatient.




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        12.     Plaintiff presented to the VA on November 8, 2013, relating continuing and


worsening urinary symptoms. The VA, through its agents, advised Plaintiff to continue treating


as an outpatient.


        13.     On or about November 8, 2013, Plaintiff sought dates for a consultation with a


VA urologist. The VA told Plaintiff that a urologist was not available for consultation in the
                                           '




near future.


        14.     After November 8, 2013, over the next few days, Plaintiffs urinary symptoms


continued to escalate.


        15.     On or about November 11, 2013, Plaintiff was taken via ambulance to a civilian


hospital, where he was diagnosed with acute prostatitis with a probable abscess. At this point in


time, a transurethral resection of the prostatic abscess was performed.


        16.     At all relevanttimes stated herein, the Defendant, THE UNITED STATES OF


AMERICA, by and through its physicians, nurses and other medical staff owed a duty to


exercise reasonable care in the provision of medical care to the Plaintiff, DAVID THRELKELD.


       17.     In violation of said duty, the Defendant, THE UNITED STATES OF AMERICA,


by and through its physicians, nurses and medical staff, during the provision of medical care to


the Plaintiff, DAVID THRELKELD, committed one or more of the following negligent acts


and/or omissions in that it:


               a.        Failed to advise Plaintiff to seek immediate care on October 23, 2013,
               based on the information that was provided by Plaintiff;

               b.        Inappropriately advised Plaintiff to wait to see his primary care physician
               approximately three weeks after Plaintiff related serious urinary symptoms on
               October 23, 2013;

               c.        Failed to perform adequate testing of Plaintiffs condition on November 2,
               2013;


               d.        Failed to adequately diagnose Plaintiff on November 2, 2013;


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                e.     Failed to form an adequate plan of care on November 2, 2013;

                £      Failed to timely schedule Plaintiff for consultation with a urologist;

                g.     Failed to advise Plaintiff to seek immediate care when Plaintiff related to
                       the VA, through its agents, that his urinary symptoms had not abated, and
                       in fact had continued to escalate; and

                h.     Failed to timely treat Plaintiffs condition.

       18.      As a direct and proximate result of the foregoing negligence, Plaintiff, DAVID


THRELKELD, sustained severe and permanent injuries, incurred expenses for medical


treatment, endured great pain and suffering and loss of a normal enjoyment of life and/or


disability, and lost income, and will incur medical expenses, endure great pain and suffering, loss


of a normal enjoyment of life and/or disability, and lose income in the future.


       WHEREFORE, Plaintiff, DAVID THRELKELD, prays for judgment against the


Defendant, THE UNITED STATES OF AMERICA, in an amount greater than FIFTY


THOUSAND ($50,000.00) DOLLARS, plus the costs of this action.




                                      Respectfully submitted,




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